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  8                          UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
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  10 PATRICIA FILARDI                              CASE NO:
                                                   5:18−cv−01847−CJC−SP
  11                   Plaintiff(s),
                                                   SCHEDULING ORDER
               v.
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       YUMMY DONUTS AND SUBS, et al.
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  15                  Defendant(s).

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  19          The Court, having reviewed the pleadings and the parties' submissions
  20    pursuant to Federal Rule of Civil Procedure 26(f), now ORDERS as follows:
  21          [1] All discovery, including discovery motions, shall be completed by
  22    November 27, 2019. Discovery motions must be filed and heard prior to this date.
  23          [2] The parties shall have until January 27, 2020 to file and have heard all
  24    other motions, including motions to join or amend the pleadings.
  25      [3] A pretrial conference will be held on Monday, February 24, 2020 at 03:00
        PM. Full compliance with Local Rule 16 is required.
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  27          [4] The case is set for a jury trial, Tuesday, March 3, 2020 at 08:30 AM.
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           [5] The parties are referred to ADR Procedure No. 2 − Court Mediation Panel.
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        The parties shall have until December 23, 2019 to conduct settlement proceedings.
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  5        IT IS FURTHER ORDERED that the Clerk of the Court shall serve copies of
  6
        this Order on counsel for the parties in this matter.
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           IT IS SO ORDERED.
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       DATED: February 8, 2019
  11
                                            Cormac J. Carney
  12                                        United States District Judge

  13
  14    cc: ADR OFFICE
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